Case 1:22-cv-00125-SWS Document 240-53 Filed 12/22/23 Page 1 of 5




              EXHIBIT BA
   [PUBLIC VERSION]
Case 1:22-cv-00125-SWS Document 240-53 Filed 12/22/23 Page 2 of 5




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     Case 1:22-cv-00125-SWS Document 240-53 Filed 12/22/23 Page 3 of 5




                                     FRBKC    -   30(b)(6) Table of Contents

      1.   Custodia Master Account Timeline

      2.   SPDI Legislation Email

      3.   Reasons for Denial

      4.   Master Account Policies and Procedures

      5.   Operating Circular 1 February 1, 2013 and August 16, 2021
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      6.   Standard Operating Procedure 10 Eligibility Processing Guidelines   -   Ex. 54

      7.   Reserve Bank Condition Monitoring Standards and Practices   -   Ex. 171

      8.   FRBKC Individuals Involved in Drafting Recommendation Memo

      9.   FRBKC Individuals Solicited for Comments on Draft S-Letter

      10. Board Individuals Who Had Contact with FRBKC Individuals Regarding Master Account

      11. Guidelines for Evaluating Account and Services Requests

      12. S-Letter 2677— Ex. 34

      13. FRBKC Master Account Data as of November 2023




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Case 1:22-cv-00125-SWS Document 240-53 Filed 12/22/23 Page 4 of 5
     Case 1:22-cv-00125-SWS Document 240-53 Filed 12/22/23 Page 5 of 5


                                                         30(b)(6) Deposition of FRBKC

    Board Individuals Who Had Contact with FRBKC Individuals About Custodia's MA

C   • Allison, Sophia
    • Brainard, Lael
    • DeBoer, Margaret
    • Eichner, Matt
    • Hinkle, Jason
    • Lipscomb, Laura
    • Malloy, Matt
    • Martin, Stephanie
    • Mills, Dave
    • Smith, Gavin
    • Van Der Weide, Mark
    • Walker, Jeff
    • Winerman, Evan




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